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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARCHESU MINOR                                 :
    Plaintiff                                  :
                                               :
       v.                                      :       CIVIL ACTION NO. 20-CV-4151
                                               :
UNITED STATES POLICE                           :
     Defendant                                 :

                                          ORDER

       AND NOW, this 15th day of October, 2020, upon consideration of Marchesu Minor’s

motion to proceed in forma pauperis (ECF No. 4), and pro se Complaint (ECF No. 1), it is hereby

ORDERED that:

       1.       Leave to proceed in forma pauperis is GRANTED pursuant to 28 U.S.C. § 1915.

       2.       The Complaint is DEEMED filed.

       3.       Minor’s Complaint is DISMISSED, with prejudice, for lack of standing for the

reasons stated in the Court’s Memorandum. Any claims raised on Minor’s own behalf are

DISMISSED, with prejudice, for failure to state a claim.

       4.       The Clerk of Court shall CLOSE this case.



                                            BY THE COURT:


                                            /s/ Nitza I. Quiñones Alejandro
                                            NITZA I. QUIÑONES ALEJANDRO
                                            Judge, United States District Court
